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Prob 35 Report and Order Terminating Probation!
(3/98) Supervised Release 05 AUG lg AH 63 52
Prior to Original Expiration Date
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United States District Court
FOR THE

WESTERN DISTRICT OF TENNESSEE

UNITED S'I`ATES OF AMERICA

V.

Jerry McMichael

Crim. No. 2:()3CR20028-01

On June 5 , 2002, the above named was placed on Supervised Release for a period of 2 years. He has
complied with the rules and regulations of Supervised Release and is no longer in need of Supervision. It is

accordingly recommended that he be discharged from Supervised Release.
Respectfully submitted,

-/PDM ,5/4¢;»,¢_

U.S. Probation dfi`icer

ORDER OF TH_E COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and

that the proceedings in the case be terminated
/
Dated this ls K day of A s ' ,20 § s.

United States District Judge

 

This document entered on the docket sheet in ‘ rnpliance
With Fiule 55 and/or 32(b} FliCrP on 8 " §§ "'f 25

 

DRISTIC COURT - ESTERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:03-CR-20028 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

